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                  In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                          Filed: July 18, 2014

* * * * * * *              *     *   *   *   *   * *       UNPUBLISHED
SUSAN HABCHY,                                      *       No. 11-680V
                                                   *
                   Petitioner,                     *
                                                   *       Special Master Dorsey
v.                                                 *
                                                   *       Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                                *       Reasonable Amount Requested to which
AND HUMAN SERVICES,                                *       Respondent Does not Object.
                                                   *
                   Respondent.                     *
                                                   *
*    *   *    *    *   *   *     *   *   *   *   * *

Ronald Craig Homer, Conway, Homer & Chin-Caplan, P.C., for petitioner.
Lisa Ann Watts, U.S. Department of Justice, Washington, D.C., for respondent.

                           ATTORNEYS’ FEES AND COSTS DECISION1

       On October 14, 2011, petitioner, Susan Habchy, filed a petition seeking
compensation under the National Vaccine Injury Compensation Program (“the Vaccine
Program”). Petitioner alleged that she suffered rheumatoid arthritis that was caused-in-
fact by the influenza vaccination. On March 5, 2014, a decision was entered awarding
compensation to petitioner based on the parties’ stipulation.

        On July 18, 2014, the parties filed a Stipulation of Fact Concerning Attorneys’ Fees and
Costs. According to the stipulation, the parties stipulate to a total award to petitioner of
attorneys’ fees and costs in the amount of $41,000.00. In accordance with General Order #9,
petitioner’s counsel represents that of the $41,000.00 requested, petitioner advanced $201.17, in
reimbursable costs in pursuit of her claim.

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  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). As provided by Vaccine Rule 18(b), each party has 14 days within which
to request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted
invasion of privacy.” Vaccine Rule 18(b). Otherwise, the entire decision will be available to the
public. Id.

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       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. §
300 aa-15(e). Based on the reasonableness of the parties’ stipulation, the undersigned GRANTS
the request for approval and payment of attorneys’ fees and costs.

       Accordingly, an award should be made as follows:

           (1) in the form of a check jointly payable to petitioner and to Mr. Ronald C. Homer of
               the law firm of Conway, Homer & Chin-Caplan, P.C., in the amount of
               $40,798.83,

           (2) in the form of a check payable to petitioner only in the amount of $201.17.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.2

        IT IS SO ORDERED.

                                             s/Nora Beth Dorsey
                                             Nora Beth Dorsey
                                             Special Master




2
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.
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